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 AO 91 (Rev. 11/11) Criminal Complaint


                                  UNITED STATES DISTRICT COURT
                                                      for the
                                                                                      CLERK, U.S. GiSTRICT COURT     I
                                           Central District of California
                                                                                            JAN 2 2 2019
  United States of America
                                                                                     CENTRAL DIS7RI:`OF CALIFORNIA
                                                                                     gY          ,~        7EPUTY


                                                                 Case No.
  ADAU AKUI ATEM MORNYANG,

                  De~'endant.;~

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                 ~x ~ ~-,
                       T;                CRINIINAL COMPLAINT
              N -~ ~^.~-
             ~'., ~~ .,
-..J    I, t1~co~apl~nan~ in this case, state that the following is true to the best of my knowledge and belief.

On or abo    tha~date of ~anuary 21, 2019,in the county of Los Angeles in the Central District of California, the
                ~~      '~                                                  --..

defendants) violated:

          Code Section                                          Offense DescYiption

          49 U.S.C. § 46504;                                 Interference with Flight Crew
          18 U.S.C. § 113(a)(4)                              Members and Attendants; Assault by
                                                             Striking, Beating, or Wounding.

        This criminal complaint is based on these facts:

        Please see attached affidavit.

        D Continued on the attached sheet.


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                                                                   Bil , L. Moffett, Task Force Officer, FBI
                                                                                   Printed name and title
Sworn to before me and signed in my presence.
                           ~~.                                     }
Date:               ~~7~                                            ~~i     1
                                                                                     Judge's signature

 City and state: Los Angeles, California                        Hon. Michael R. Wilner, U.S. Magistrate Judge
                                                                                   Printed name and title
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     I, Billy L. Moffett, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint against ADAU AKUI ATEM MORNYANG ("MORNYANG") for

violations of Title 49, United States Code, Section 46504

(Interference with Flight Crew Members and Attendants) and Title

18, United States Code, Section 113(a)(4) (Assault by Striking,

Beating, or Wounding Within the Special Maritime Jurisdiction of

the United States).

     2-.:    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel.,and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and part only.

                  II. BACKGROUND OF BILLY L. MOFFETT

     3.     I am a United States Federal Air Marshal ("FAM") and

have been so since 2010.     I am currently working as a Task Force

Officer ("TFO") assigned to the Federal Bureau of Investigation

("FBI"), and have been for approximately 16 months.          In 2017, I
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was assigned to the Los Angeles International Airport ("LAX")

Office of the FBI, where I investigate violations of federal law

that occur within the airport environment and onboard aircraft.

Prior to becoming a FAM, I received approximately nine weeks of

training at the Federal Law Enforcement Training Center,

including training on arrest procedures and some violations of

Titles 18 and 49 of the United States Code.         In order to become

a FAM, I also received approximately nine weeks of additional

training, including training on defensive tactics and measures.

                   III. STJNIl~?ARY OF PROBABLE CAUSE

     4.    On January 21, 2019, flight attendant R.G. aboard

United~Airlines flight 99 from Melbourne, Australia, to LAX,

told passenger MORNYANG to return to her seat from the rear

galley, but MORNYANG refused to take her seat.          MORNYANG slapped

R.G. on his right cheek - with her left hand.       R.G. placed

MORNYANG into the empty seats in row 35.

     5.    FAMs then approached MORNYANG, identified themselves

as FAMs, and displayed their badges.        FAMs escorted MORNYANG to

the rear galley of the aircraft and restrained her.          FAMS

permitted MORNYANG to use the restroom where she remained for

approximately 40 minutes.      As MORNYANG left the bathroom, she

dropped to the floor.     FAMs attempted to place MORNYANG back in

a seat when MORNYANG kicked a FAM in the chest.
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                   IV. STATEMENT OF PROBABLE CAUSE

     6.     Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A.     Passengers Complain about MORNYANG's Behavior

     7.     From a report prepared by FBI Special Agent ("SA")

Dana Murphy regarding the interview of United Airlines flight

attendant R.G., I learned that, on January 21, 2019, R.G. was

working as a flight attendant on United Airlines flight 99,

which had departed from Melbourne, Australia, '.and was headed to

Los Angeles, California.

     8.-~   R.G. told SA Murphy that, during the flight, R.G.

served MORNYANG two glasses of red wine.        When R.G. brought

MORNYANG the first glass_, R.G. noticed there was already an          ~_

empty red wine bottle at'her seat.       R.G. and another flight

attendant, D.S., discussed the number of drinks MORNYANG had

consumed -- approximately five or six -- and decided not to

serve her any more alcohol.

     9.     R.G. told SA Murphy that, approximately one hour after

MORNYANG drank her last glass of wine and approximately nine

hours after takeoff, two passengers approached R.G. in the rear

galley to report that a passenger was acting out in her seat.

The passengers told R.G. that the passenger was talking to

herself, screaming profanities, and waving her arms around in

her seat.
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     B.    R.G. Investigates the Complaint

     10.   R.G. told SA Murphy that R.G. walked to row 35, where

MORNYANG was seated, to investigate the complaint.          R.G. saw

MORNYANG flailing her arms around and heard her screaming.

     11.   R.G. told SA Murphy that R.G. tried to get MORNYANG to

calm down.    R.G. asked MORNYANG if there was anything he could

help with and explained that she needed to quiet down because

other passengers were complaining about her yelling.          MORNYANG

said that she did not care and that she is a strong black woman.

MORNYANG accused R.G. of being racist because.he.was not talking

to any of the white passengers, and MORNYANG said that R.G. and

other flight attendants were singling her out because they are

all white.

     12.   R.G. told SA Murphy that he went to the front galley

to phone the cockpit and alert the captain about the situation,

but R.G. was unable to reach the captain.         R.G. went up the

stairs to the crew rest compartment, woke the flight purser, and

informed him of the situation.       When R.G. walked back down the

stairs into the rear galley, MORNYANG was standing in the rear

galley.    R.G. told MORNYANG to return to her seat.        MORNYANG did

not comply.

     13.     R.G. told SA Murphy that MORNYANG's arms flailed

around as she stumbled backwards toward the cockpit.           MORNYANG

hit several passengers seated in aisle seats as she walked

backwards.     MORNYANG yelled obscene and offensive language and
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screamed.    As she walked, MORNYANG leaned over into several

passengers' faces and screamed profanities at them.          As MORNYANG

walked backwards, she removed her scarf, jacket, and shoes.            By

R.G.'s estimate, MORNYANG had been screaming and flailing around

for approximately 15 to 20 minutes at this point.

     C.     MORNYANG Slaps R.G.

     14.    R.G. told SA Murphy that, when MORNYANG reached row

35, she refused to take her seat.       MORNYANG removed her socks

and threw them at nearby passengers.        MORNYANG continued walking

backwards and reached row 33.      MORNYANG yelled at R.G. and shook

her finger in R.G.'s face.       MORNYANG then slapped R.G. on his

right cheek with her left hand.                       ....

     15.    R.G. told SA Murphy that R.G. viewed the slap as

intentional and thought ~QRNYANG was going to continue hitting

him or other passengers.     R.G. used both of his arms to pin

MORNYANG's arms to her sides and clasped his hands behind her

back to prevent her from moving her arms.        R.G. placed MORNYANG

into the empty seats in row 35.

     D.     FAMs Restrain R.G.

     16.    From a report prepared by FBI TFO Carlos Llamas

regarding his interview of FAM Jimmy Fong, I learned that FAM

Fong and FAM Jason Jay approached MORNYANG at this point.           FAM

Fong and FAM Jay identified themselves as FAMs and displayed

their badges.   FAM Fong and FAM Jay escorted MORNYANG to the.

rear galley of the aircraft.      FAM Fong placed her in handcuffs.
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     17.   From a report prepared by SA Murphy regarding the

interview of FAM Jay, I learned that the FAMs restrained

MORNYANG in the flight attendant jump seat with a seatbelt.

     E.    MORNYANG Kicks FAM Bolanowski

     18.   FAM Fong told TFO Llamas that MORNYANG was seated in

the jump seat for approximately one hour when she asked to use

the restroom.    FAM Fong and FAM Jay escorted her to the restroom

and they remained outside.      Another FAM, Jeffrey Bolanowski, was

also in the area.    FAM Fong and FAM Jay left the door cracked

open so that they could monitor MORNYANG's behavior.           MORNYANG

demanded that FAM Fong and FAM Jay completely close the door:

When they-r.efused, MORNYANG became verbally abusive towards FAM

Jay and called him a racial slur.

     19.   FAM Fong told TFQ' Llamas that MORNYANG remained in the:

bathroom for approximately 40 minutes.        Her behavior was

erratic.   At times she was belligerent, and at times she

appeared to be dozing off while in the bathroom.

     20.   From a report prepared by FBI TFO Ellen Kuo ("TFO

Kuo") regarding her interview of FAM Bolanowski, I learned that

as MORNYANG left the bathroom, her body went limp and she

dropped to the floor.     FAM Jay reached out and grabbed onto

MORNYANG's armpits to support her upper body.         FAM Bolanowski

bent down to put MORNYANG's feet together to assist with

carrying her to a seat in the last row of the aircraft.           While

they were carrying MORNYANG toward the last row of the aircraft,
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MORNYANG started to scream and twist her body to free herself.

MORNYANG was able to free one of her legs and kicked FAM

Bolanowski in his chest in the course of the struggle.           The kick

took the wind out of F.AM Bolanowski.      Once FAM Bolanowski

recovered, he assisted with transporting her to the back row.

     21.    FAM Bolanowski told TFO Kuo that MORNYANG's disruptive

behavior was the most severe he has encountered in his ten years

as a FAM.

     F.     MORNYANG's Assault on R.G. Interfered with the
            Performance of R.G.'s Duties

     22.    R.G. told SA Murphy that MORNYANG interfered with

R.G.'s duties to provide service to the rest of the passengers.

R.G. stated that the flight crew was unable to use the rear

galley for hours while MORNYANG was restrained in the jump seat.

     23.    R.G. told SA Murphy that, approximately two hours

before landing at LAX, the flight crew had the FAMs move

MORNYANG out of the rear galley so that they could conduct the

second meal service and prepare for landing.         The flight crew

moved six passengers from seats in rows 39 and 40 so that

MORNYANG would not be able to hit, kick, or scream at anyone.

     24.    At the time of this incident, the United Airlines

aircraft, which was scheduled to land in the United States, was

in the special aircraft jurisdiction of the United States.

United Airlines flight 99 arrived in Los Angeles, California, at
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approximately 6:22 a.m. Pacific Standard Time on January 21,

2019.

                             V. CONCLUSION

     25.   For all of the reasons described above, there is

probable cause to believe that MORNYANG has committed violations

of Title 49, United States Code, Section 46504 (Interference

with Flight Crew Members and Attendants) and Title 18, United

States Code, Section 113(a)(4) (Assault by Striking, Beating, or

Wounding Within the Special Jurisdiction of the United States).




                                        Billy L. Moffett,
                                        FBI Task Force Officer



Subscribed to and sworn before me
this~~ day of January, 2019.
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UNITED STATES MAGISTRATE JUDGE
